Case 8:04-cr-00566-JDW-AEP Document 375 Filed 02/05/09 Page 1 of 4 PageID 989



                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

UNITED STATES OF AMERICA

VS.                                                                        Case No. 8:04-CR-566-T-27TBM

CURTIS SMILEY
----------------_/

                                                        ORDER

          Before the Court is Defendant's pro se Motion for Sentence Reduction Pursuant to 18 U. S.C.

§ 3582(c)(2} (Dlct. 358). Defendant seeks a sentence reduction pursuant to § 3582(c)(2), based on

Amendment 706 to the United States Sentencing Guidelines.' The Court appointed counsel for

Defendant" and directed responses from the U.S. Probation Office, and the United States Attorney's

Office. Defense counsel filed a response and memorandum of law supporting Defendant' s motion

(Dkt, 372). The Government responded in opposition, arguing that application of Amendment 706

does not lower Defendant's sentencing range. (Dkt, 373).2

          On November 9, 2005, Defendant pleaded guilty to Count One ofan indictment charging him

with conspiracy to possess with intent to distribute 50 grams or more of cocaine base, ill violation

of 21 U.S.C. §§ 846 and 841(a)(I)(A). Defendant was held accountable for an estimatedquantity




         1 The United States Sentencing Commission promulgated Amendment 706 lowering the base offense level for

cocaine base (crack cocaine) offenses by two levels for eligible defendants sentenced on or after November 1, 2007.
The Amendment is applied retroactively to defendants sentenced before November 1, 2007. United States v. Moore) 541
F.3d 1323, 1325 (11th Cir. 2008).

            2 Likewise, in its December 9, 2008 memorandum to the Court, the United States Probation Office determined

 "since the defendant's guideline range remains the same after application of the lower base offense level. . . defendant
,is not eligible for consideration because the amendment does not have the effect of lowering the defendant's applicable
 guideline range."

                                                            1
Case 8:04-cr-00566-JDW-AEP Document 375 Filed 02/05/09 Page 2 of 4 PageID 990



of 1.5 kilograms of cocaine base.' At the time of Defendant's sentencing, pursuant to U.S.S.G. §

2D 1.I(a)(3), an offense involving Lfi kilograms or more of cocaine base resulted in a base offense

level of 38. After a four level upward adjustment for aggravating role as a "leader" ill the offense,

and a three level downward adjustment for acceptance of responsibility, Defendant's adjusted

offense level became 39. Based on a criminal history category VI, Defendant's sentencing guideline

range was therefore 360 months to life imprisonment. After a five level departure based on

substantial assistance pursuant to the Government's § SKI. 1 motion, Defendant was sentenced to

262 months imprisonment."

          As to crack cocaine offenses, Amendment 706 provides for a two level adjustment to a

defendant's base offense level. The procedure for implementing the amendment is established in

§ 1B 1.1O(b), which instructs that the district court "shall" determine the "amended guideline range

that would have been applicable to the defendant if the amendment(s) to the guidelines listed in

subsection (c) had been in effect at the time of sentencing." The first step, therefore, ill determining

Defendant's eligibility for the two level adjustment is to determine what effect Amendment 706




          3 The Government contends that Defendant's "activities easily exceed the current threshold amount of4.5 kilos"

for a base offense level 38 under the amendedsentencing guidelines. (Dkt. 373, p. 3). Defendant correctly points out,
however, that at sentencing, the Court did not make an explicit finding that Defendant was accountable for more than
4.5 kilograms of cocaine. Rather, the Court adopted Probation's assessment that with respect to quantity, that there "is
no way to precisely determine the amount of crack cocaine this defendant should be held accountable for, [Probation]
has in Paragraph 56 indicated that the highest base offense level is 38, and is applicable to 1.5 kilograms or more of
cocaine base." (Sentencing Transcript at p. 4). "[T]here's just no way to precisely calculate because there wasn't a
specific seizure. And so under the guidelines ... it allows the court to effectively estimate the amount that this defendant
should be held accountable for." (Sentencing Transcript at p. 5).
           At sentencing, defense counsel and government counsel agreed with the quantity estimate of Probation. This
Court accordingly found: "Well, I will find that probation ... has accurately approximated the amount for which this
defendant should be held accountable, recognizing that there is no precise calculation that could ever be reached."

         4 The Court departed downward five levels pursuant to the Government's § 5K Ll motion based on Defendant's

substantial assistance, to a level 34. This resulted in a guideline range of 262 to 327 months. Defendant was sentenced
to 262 months imprisonment.

                                                             2
Case 8:04-cr-00566-JDW-AEP Document 375 Filed 02/05/09 Page 3 of 4 PageID 991



would have on Defendant's sentencing guideline range, if it had been in effect at the time of his

sentencing.

         Amendment 706, even ifit had been in effect the time ofDefendant,s sentencing, would not

have lowered Defendant's applicable sentencing guideline range. Applying a two level adjustment

to Defendant's base offense level pursuant to Amendment 706 results ill a base offense level of36.

After the four level adjustment for aggravating role, and the three level adjustment for acceptance

ofresponsibility, the resulting adjusted offense level is 37. Based on a criminal history category VI,

Defendant's amended guideline range remains unchanged, 360 months to life imprisonment.

Accordingly, § 3582(c) does not authorize a reduction in his sentence. U.S.S.G. § 1B1.10(a)(2)(B).5

         Where, as here, application ofAmendment 706 reduces a defendant's base offense level but

does not alter the sentencing guideline range on which his sentence was based, §3582(c)(2) does not

authorize a reduction in sentence. United States v. James, 548 F.3d 983 (11th Cir. 2008).

         Defendant's alternative argument that Defendant is entitled to a sentence reduction pursuant

to 18 U.S.C. § 3553(a), based on United States v. Booker, 543 U.S. 220 (2005) is without merit.

Since defendant is not entitled to a sentence reduction pursuant to § 3582(c)(2), this Court has no

authority to consider a reduction not authorized by that section. A defendant may 110t employ

§3582(c)(2) to litigate sentencing issues unrelated to Amendment 706. A proceeding pursuant to

§3582(c)(2) does "not constitute a full resentencing of the defendant." U.S.S.G. § 1B1.10; United

States v. Armstrong, 347 F.3d 905, 909 (11th Cir. 2003); United States v. Bravo, 203 F.3d 778, 780-




          5 "A reduction in the defendant's term ofimprisonment is not consistent with this policy statement and therefore

is not authorized under 18 U.S.C. § 3582(c)(2) if ... an amendment listed in subsection (c) does not have the effect of
lowering the defendant's applicable guideline range." U.S.S.G. § IBl.10(a)(2)(B).



                                                            3
Case 8:04-cr-00566-JDW-AEP Document 375 Filed 02/05/09 Page 4 of 4 PageID 992




82 (11th Cir. 2000); United States v. Moreno, 421 F.3d 1217, 1220 (11t11 Cir. 2005)(Section

3582(c)(2) motion cannot be used to present Booker claim as Booker is 110t a retroactive guideline

amendment), cert. denied, 547 U.S. 1050(2006); United States v. Jones, _ F.3d _, 2008 WL

4934033, at *2 (11th Cir. November 19,2008); United States v. Riley, 164 Fed. Appx. 836 (11th Cir.

2006).

         Accordingly, Defendant's Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

(DI(t. 358) is DENIED.
                                                      _17-
         DONE AND ORDERED in chambers this ~day of February, 2009 .




                                                     ....-." ............,.........S D. WHITTEMORE
                                                       ni ed States District Judge

Copies to: Defendant
           Counsel of record
           United States Probation




                                                 4
